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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   UNITED STATES OF AMERICA                    §
                                               §
   v.                                          §          No. 4:16CR176
                                               §          Judge Crone
   JAMES MORRIS BALAGIA                        §
   a.k.a. “DWI Dude”                           §

                            UNITED STATES’ 404(b) NOTICE
                       And TRIAL BRIEF ON THE ADMISSIBILITY
                             OF EXTRANEOUS OFFENSES

           The defendant, James Balagia, is an attorney whose clients have included foreign

  narcotics traffickers facing indictment in the United States. The government’s case focuses

  on the defendant and co-defendants Charles Morgan and Bibiana Correa Perea soliciting

  payments from clients for the purported purpose of bribing United States government

  officials to obtain favorable outcomes in pending indictments and knowingly accepting

  narcotics proceeds as payment for legal representation. On May 10, 2018, the United States

  Grand Jury charged the defendant in a Third Superseding Indictment (“indictment”) with

  the following: conspiracy to commit money laundering; obstruction of justice and aiding

  and abetting; attempt to violate the Kingpin Act; conspiracy to commit wire fraud; and

  conspiracy to obstruct justice.

           It is the United States’ position that the “extraneous” offense the United States gives

  notice of in this filing is intrinsic to the crime charged. The facts related to this event are

  referenced in the indictment and included in the time period of the indictment. Therefore, it


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  is not an extraneous offense. However, in an abundance of caution, the United States

  provides this extraneous offense notice. The defendant has actual notice that the United

  States will seek to admit evidence of this event through the allegations in the indictment as

  well as the discovery process. Again, the United States’s position is that the event is

  admissible and intrinsic to the offense charged.

           The event at issue is the following:

           On or about November 17, 2011, law enforcement officers in Texas seized
           approximately $50,000.00 of narcotics proceeds on United States Interstate 40 in
           Kerrville, Texas from JMM and her daughter VA. The Drug Enforcement
           Administration pursued forfeiture of the seized funds in DEA Case Number MB-
           12-0012, Asset ID Number 12-DEA-556315.              JMM and her daughter were
           transporting the money from the East Coast to California on behalf of MN. MN
           had previously hired the defendant in a related case and contacted the defendant to
           represent JMM and VA. In the course of his discussions with JMM, the defendant
           and his investigator/paralegal HJP convinced JMM that he had the ability to
           influence judges and prosecutors in her criminal case. Further, in the course of his
           representation of JMM, Balagia knowingly drafted a false sworn statement for
           JMM to sign. The defendant then submitted JMM’s sworn statement to the DEA
           along with a form requesting that the money be returned to JMM’s bank account.
           Subsequently, the defendant submitted a second form and requested that the money
           be placed in the defendant’s account. The DEA returned the $50,000.00 to the
           defendant.

                                 AUTHORITY AND ARGUMENT

           At trial, the United States will seek to admit the above events related to the seizure

  of the $50,000.00 and the defendant’s subsequent representation of JMM. The United

  States intends to offer the witnesses and evidence that establish the event. Again, it is the

  position of the United States that the event is intrinsic to the offense charged. However,

  alternatively, it would be admissible as extraneous offense evidence. Extraneous offense


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  evidence is admissible pursuant to Rule 404(b) of the Federal Rules of Evidence.

           Rule 404(b) provides, in relevant part:

           Evidence of other crimes, wrongs, or acts is not admissible to prove the
           character of a person in order to show action in conformity therewith. It
           may, however, be admissible for other purposes, such as proof of motive,
           opportunity, intent, preparation, plan, knowledge, identity, of absence of
           mistake or accident....
           Federal Rule of Evidence 404(b).

           Rule 404(b) generally prohibits the introduction of evidence of extrinsic acts that

  might adversely reflect on the actor’s character, unless that evidence bears upon another

  relevant issue in the case. Huddleston v. United States, 485 U.S. 681(1988). Thus, the

  threshold inquiry before admitting similar acts evidence under Rule 404(b) is whether that

  evidence is probative of a material issue other than character. Id. 485 U.S. at 686.

           The seminal Fifth Circuit decision governing extrinsic offense evidence is United

  States v. Beechum, 582 F. 2d 898 (5th Cir. 1978). Beechum sets out a two-step test to be

  applied to all 404(b) evidence: (1) the extrinsic evidence must be relevant to an issue other

  than the defendant’s character; (2) the evidence must possess probative value that is not

  substantially outweighed by its undue prejudice. Id. at 911.

           The first prong of the Beechum test requires extrinsic evidence to be relevant to an

  issue other than the defendant’s character. The Fifth Circuit has held the mere entry of a

  not guilty plea raises the issue of intent sufficiently to justify the admissibility of

  uncharged, extrinsic evidence. United States v. Prati, 861 F.2d 82, 86 (5th Cir. 1988).

  Applying the first prong of the Beechum test to the facts before this Court, the defendant

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  has entered a plea of not guilty to the indictment. Therefore, the defendant has put the

  element of intent at issue and the first prong weighs in favor of admission of the extraneous

  evidence.

           The second prong of the Beechum test requires balancing probative value against

  undue prejudice. The Fifth Circuit has held unfair prejudice to the defendant is only one

  factor trial courts should consider when evaluating the admission of 404(b) evidence. In

  United States v. Arteaga-Limones, 529 F.2d 1183, 1197 (5th Cir. 1976), the Fifth Circuit

  said the propriety of admitting evidence of prior convictions to show intent is established

  by four factors: “(1) plain, clear and convincing evidence of a prior similar offense; (2)

  not too remote in time; (3) in which intent is a material element; and (4) the proof of which

  is substantially needed by the government to the extent the material prejudice to defendant

  is outweighed.” Arteaga-Limones at 1197.

           The second prong of the Beechum test requires balancing the probative value

  against undue prejudice. The Arteaga-Limones factors can be used to assist in the

  probative value v. undue prejudice analysis. The first Arteaga-Limones factor is whether

  there is plain, clear and convincing evidence of a prior similar offense. In this case, the

  documents the defendant submitted to DEA (JMM’s affidavit and the forms routing the

  return of the money) corroborate the direct testimony of JMM. Moreover, the defendant

  himself has submitted a letter to the State Bar of Texas indicating that he knew that the

  money possessed by JMM was to be used for the purchase of narcotics, a statement which

  contradicts the statements that he made when discussing the case with the DEA.

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  Therefore, the evidence the offense is plain, clear and convincing. This factor weighs in

  favor of admission.

           The second Arteaga-Limones factor is whether the extraneous offense is remote in

  time. The time period alleged in the indictment for the span of the conspiracy is 2011 up

  to and including the date of the filing of the Indictment. In this case, the offense falls within

  time period of the offenses alleged in the indictment, and, therefore is not too remote. This

  factor weighs in favor of admission.

           The third Arteaga-Limones factor is whether the offense is one in which intent is a

  material element. The defendant is charged with multiple offenses in which intent is a

  material element. The defendant’s intent to participate in a plan to gain the confidence of

  a potential client by representing that he “has prosecutors and judges” is critical in showing

  he is guilty as charged in the indictment. This factor weighs in favor of admission.

           The fourth Arteaga-Limones factor is whether the proof of the extraneous is

  substantially needed by the government to the extent that the material prejudice to the

  defendant is outweighed. In this case, the United States’s case will be based on recordings

  and co-conspirator testimony. The United States’s case is subject to strong attack because

  it relies heavily on co-conspirator testimony. This factor weighs in favor of admission.

           The United States has shown how both Beechum factors weigh in favor of the

  admission of the extraneous offense.

           The United States urges this Court to admit the evidence as intrinsic to the offense

  charged or, alternatively, as evidence of an extraneous act.

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                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via electronic filing to
  defense counsel on January 11, 2019.


                                              /s/
                                            HEATHER RATTAN




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